   Case 2:12-cv-01101-SPL Document 109-2 Filed 04/22/14 Page 1 of 1



                                                                      INVOICE
                                                                   Date: November 13, 2013
                                                                   INVOICE # 053056
                                                                   IG Media et al, c/o
                                                           To
                                                                   John P. Flynn
                                                                   Attorney at Law
                                                                   Dioguardi Flynn LLP
                                                                   7001 N Scottsdale Road, #2060
                                                                   Scottsdale, Arizona 85253
                                                                   Customer ID: KINK
                                                                    AMOUNT
     DESCRIPTION
                                                                      DUE
     Case # 12-cv-01001
     Initial review and answer to Subpoena questions for
                                                                   $150.00
     Attorney Libby Banks. 6hrs @ $25
     Purchasing of HD in Iowa. 2hrs @ $25                          $50.00
     Assembling and copying of materials (video, spreadsheets,
                                                                   $500.00
     etc) to Hard Drive in Iowa. 20hrs @ $25
     Review of Hard Drive materials in Arizona. 10hrs @ $25        $250.00
     Assembling and copying of materials (video, spreadsheets,
     copyright forms, trademark forms, correspondence, etc.) in    $550.00
     Arizona. 22hrs. @ $25
     Conference calls with Spencer Freeman, Libby Banks,
                                                                   $100.00
     Cybernet Entertainment. 4hrs @ $25
     Shipping Hard Drive from Iowa to Arizona via UPS.             $75.00
     Hard drive delivery to Flynn in AZ. .5hrs @ $25               $12.50
     Legal and associated Fees.                                    $1,500.00
                                          Total Due Upon Receipt   $3,187.50

Wire Information:
Bank Name: Wells Fargo Bank
Address: 420 Montgomery Street, San Francisco, CA 94104
Beneficiary Name: BATTLESHIP STANCE LLC
Account: 3610207924
Routing: 121000248
Swift Code: WFBIUS6S

                            Due in full on upon receipt.
                                  Thank you for your business!
                                     TEL: +1.310.488.8017
